     Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18
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                                                                       __: of 31
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK




IN RE PETROBRAS SEC. LITIG.             )      14-cv-9662 (JSR)
                                        )
~~~~~~~~~~~~~)




         SHAREHOLDER OBJECTIONS TO PROPOSED SETTLEMENT,
         PLAN OF ALLOCATION, PROOF OF CLAIM, CLASS NOTICE
                 AND REQUEST FOR ATTORNEYS' FEES
       Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 2 of 31



                                            Table of Contents

ARGUMENT .................................................................................................. l

I.      An Amchem Structural Conflict Precludes Approval of the Proposed Settlement
        Because Non-Domestic DTC-Settled Debt Claims are Adverse to ADS Claims ........... 1

II.     The Class Notice Fails to Disclose Materially Relevant Information ......................... 9

III.    The Request for Attorneys' Fees is Clearly Excessive and Unreasonable .................. 10

        A.      No Lodestar Multiplier is Warranted for Piggybacking on the Prosecutors in a
                Case Where the Risk of Non-Recovery Was Practically Nonexistent .............. 11

        B.      A Fee Award of 2% ($60 million) is Amply Supported by Precedent .............. .13

        C.      The Unexceptional Quality of Representation Does Not Merit a Multiplier ....... 14

        D.      Public Policy Disfavors a $284,500,000 Attorneys' Fee .............................. 17

        E.      Class Counsel's Lodestar is Vastly Inflated ............................................ 18

CONCLUSION ............................................................................................... 20
        Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 3 of 31



                                             Table of Authorities
Amchem Products, Inc. v. Windsor, 521 U.S. 591 (1997) ...................... ...................passim
In re American International Group Securities Litigation, 689 F.3d 229 (2d Cir. 2012) ......... 7,8
Jn re AT&T Corp., 455 F.3d 160 (3d Cir. 2006) .......................................................... 14
In re Beacon Assocs. Litig., No. 09 Civ. 777, 2013 WL 2450960 (S.D.N.Y. May 9, 2013) ...... .18
In re Bristol-Myers Squibb Securities Litigation, 361 F. Supp. 2d 229 (S.D.N.Y. 2005) .......... 13
Jn re Cendant Corp. Litig., 243 F. Supp. 2d 166 (D.N.J. 2003) ....................................... .14
Charron v. Wiener, 731 F.3d 241 (2d Cir. 2013) ......................................................... .4
Choi v. Tower Research Capital LLC, No. 17-cv-648 (2d Cir. Mar. 29, 2018) ....................... 7
In re Citigroup Inc. Securities Litigation, 965 F. Supp. 2d 369 (S.D.N.Y. 2013) ................... 18
City of Pontiac Gen. Empls. Ret. Sys. v. Lockheed Martin Corp., 954 F. Supp. 2d 276 (S.D.N.Y.
2013) ........................................................................................................... 18
In re Enron Corp., 586 F. Supp. 2d 732 (S.D. Tex. 2008) ............ .-................................. 15
Goldberger v. Integrated Resources, Inc., 209 F.3d 43 (2d Cir. 2000) ............................ 11,12
In re Gulf Oil/Cities Serv. Tender Offer Litig., 142 F.R.D. 588, 597 (S.D.N.Y. 1992) ............ .12
In re IndyMac Mortgage Backed Sec. Litig., 94 F. Supp. 3d 517 (S.D.N.Y. 2015) .......... 11,12,19
In re Literary Works in Elec. Databases Copyright Litig., 654 F.3d 242 (2d Cir. 2011) ........ 2,3,4
McDaniel v. County of Schenectady, 595 F.3d 411 (2d Cir. 2010) ................................... .14
Morrison v. National Australia Bank Ltd., 561 U.S. 247 (2010) .......................... .......passim
In re Nortel Networks Corp. Securities Litigation, No. 01-cv-1855 (S.D.N.Y. Jan. 29, 2007) ajf'd
539 F.3d 129 (2d Cir. 2008) ............................................................................. 13,14
In re Payment Card Interchange Fee and Merch. Disc. Antitrust Litig., 827 F.3d 223 (2d Cir.
2016) ............................................................................................................. 3
In re Petrobras Sec. Litig., 150 F. Supp. 3d 337 (S.D.N.Y. 2015) ..... , ............................. 4,5
In re Petrobras Sec., 862 F.3d 250 (2d Cir. 2017) ................................................. 3,5,6,7
In re Satyam Computer Servs. Ltd. Secs. Litig., 915 F. Supp. 2d 450 (S.D.N.Y. 2013) ............. 5
Sullivan v. DB Investments, Inc., 667 F.3d 273 (3d Cir. 2011) .......................................... 8
In re Visa Check/Mastermoney Antitrust Litigation, 297 F. Supp. 2d 503 (E.D.N.Y. 2003) .. .12,17
Wal-Mart Stores, Inc. v. Visa USA, Inc., 396 F.3d 96 (2d Cir. 2005) ................................. 17
In re WorldCom, Inc. Sec. Litig., 388 F. Supp. 2d 319 (S.D.N.Y. 2005) ............................. 15
       Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 4 of 31



       Richard and Emelina Gielata (the "Shareholders") purchased 500 American depositary

shares ("ADS") of Petro bras (common) in 2011 for $18,382 and sold them in 2016 for $5,000,

losing $13,382. Trade confirmations are attached. Their estimated recovery under the proposed

settlement will be in the vicinity of $600 (see Class Notice at 8 indicating an estimated average

distribution per share of $1.20 per ADS). The Shareholders object to the proposed settlement,

the plan of allocation, class notice and the requests for attorneys' fees for the following reasons.

                                           ARGUMENT

I.     An Amchem Structural Conflict Precludes Approval of the Proposed Settlement
       Because Non-Domestic DTC-Settled Debt Claims are Adverse to ADS Claims.

       The proposed settlement cannot be approved as currently structured due to a glaring

conflict of interest that threatens to reduce the Shareholders' share of the settlement fund. The

Shareholders and other investors purchased ADS listed on a U.S. exchange, entitling them to

relief under U.S. securities laws. See Morrison v. National Australia Bank Ltd., 561 U.S. 247

(2010). For debtholders, only those who prove that they purchased securities within the U.S.

have viable claims under Morrison. Indeed, at class certification, this Court culled two of the

four proposed debtholder representatives in view of Morrison, specifically holding that DTC

settlement alone does not establish a domestic transaction-a holding expressly endorsed by the

Second Circuit. Yet the proposed settlement inexplicably covers any DTC-settled transaction

regardless of location. Despite the Morrison questions looming over this litigation, the proposed

settlement and proof of claim form say nothing about the location of a debtholder claimant's

transactions. Due to this inexcusable error by class counsel, debtholders with no viable claim

due to Morrison are nonetheless invited to take settlement funds away from class members

holding valid claims. Unless the proposed settlement is restructured to fix this flaw, it would fall

afoul of Amchem Products, Inc. v. Windsor, 521 U.S. 591 (1997) and its Second Circuit progeny.
       Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 5 of 31



       To rectify the structural conflict, the Court should appoint an independent counsel to

weed out debtholder claims based on non-U.S. transactions. So long as debtholder claims are

zealously scrutinized to evaluate domesticity under Morrison, there is no Amchem problem.

After all, those without viable claims are not part of the class. But the settlement as currently

proposed lacks the "structural assurance of fair and adequate representation for the diverse

groups and individuals affected" and thus must be rejected. Amchem, 521 U.S. at 627.

       The diagram below illustrates the structural conflict in the proposed settlement:



                        All Claims submitted to the Claims Administrator


                                 Valid Claims
                       (1) Common and Preferred ADS
                         (2) Debt securities purchased
                            within the United States


                                            Partly valid claims


                                              Invalid Claims for debt securities
             Other invalid claims            purchased outside the United States




       If DTC-settled debt purchases regardless of location are covered by the settlement, then a

portion of the settlement will go to non-class members. The adversity of interest is clear: class

members (ADS purchasers and debtholders who purchased securities within the U.S.) will

receive more money for every debtholder claim rejected on Morrison grounds. 1 See Jn re


1
  The Class Notice estimates that the Shareholders will recover approximately $1.20 per share
from the settlement fund (Class Notice at 8) but their calculated loss from purchase price
inflation is over $9 per share (Class Notice, Table 2). Reducing the number of debtholder
claimants would increase the pro rata share of ADS claimants. See Proof of Claim at 13 ("An
Authorized Claimant's pro rata share of the Net Settlement Fund will be the amount of the Net

                                                    2
        Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 6 of 31



Literary Works in Elec. Databases Copyright Litig., 654 F.3d 242, 252 (2d Cir. 2011) (vacating

approval of settlement due to structural conflict: "Any improvement in the compensation of, for

example, Category C claims would result in a commensurate decrease in the recovery available

for Category A and B claims."); In re Payment Card Interchange Fee and Merch. Disc. Antitrust

Litig., 827 F.3d 223, 236 (2d Cir. 2016) (reversing approval of settlements because "[s]tructural

defects in this class action created a fundamental conflict between the (b)(3) and (b)(2) classes

and sapped class counsel of the incentive to zealously represent the latter.").

       Without an independent advocate, there is no one policing the allocation to maximize

recovery for the Shareholders and other valid claimants. Distracted by the prospect of a

Powerball-sized fee, class counsel abandoned its duty and failed to identify and rectify this

structural conflict. Indeed, class counsel created the conflict by inviting claims for any

debtholder purchase settled through the DTC even after this Court and the Second Circuit both

explicitly rejected DTC settlement as sufficient to satisfy Morrison. See In re Petrobras Sec.,

862 F.3d 250, 272 n.24 (2d Cir. 2017) ("As did the district court, we reject Plaintiffs argument

that a securities transaction is 'domestic' under Morrison and Absolute Activist if it settles

through the DTC."); contra Class Notice at 3 (including all transactions that "cleared or settled

through the Depository Trust Company's book-entry system").

       Both this Court and the Second Circuit devoted extensive analysis to the Morrison issue,

yet class counsel chose to ignore its restrictive impact in the proposed settlement, to the

detriment of ADS purchasers and other-class members. This failure by class counsel produced a

settlement that cannot survive judicial scrutiny. See Payment Card, 827 F.3d at 235-36 ("As in

Amchem, Ortiz, and Literary Works, settlements that are approved simultaneously with class


Settlement Fund, multiplied by the ratio of the amount of the Authorized Claimant's Recognized
Claim to the amount of aggregate Recognized Claims of all Authorized Claimants.").

                                                  3
        Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 7 of 31



certification are especially vulnerable to conflicts of interest because the imperatives of the

settlement process, which come to bear on the defendants, the class counsel, and even the

mediators and the court itself, can influence the definition of the classes and the allocation of

relief. For this reason, we scrutinize such settlements more closely."). 2 To be precise, the

problem here is not the "classic" Amchem conflict necessitating subclasses. Rather, the

structural conflict here is between settlement claimants: class member claimants versus

claimants that cannot be part of the class because their claims are barred by Morrison.

       Class counsel naturally sought to maximize the size of the class in order to maximize the

recovery, but at the current juncture, class members are interested in winnowing out non-U.S.

debt purchases from the claims. Class counsel created the structural conflict by including any

DTC-settled debt purchase and thus cannot be relied upon to represent adequately the interests of

class members in rectifying the problem of invalid debtholder claims. 3 Therefore, the Court

should appoint an independent counsel to assist the claims administrator in weeding out invalid

claims. See Literary Works, 654 F.3d at 253 ("[H]ow can the value of any subgroup of claims be

properly assessed without independent counsel pressing its most compelling case?").

       The proposed proof of claim confirms that class counsel has ignored the conflict of

interest. Part V of the proof of claim concerns transactions in Petrobras notes. The location of

the transaction is not requested. There is no space for information that would permit anyone to
2
 Because the Second Circuit vacated class certification to permit this Court to reconsider
predominance, the proposed settlement here is subject to the "heightened attention" given in
Literary Works and Payment Card, unlike a settlement entered into after class certification. See
Charron v. Wiener, 731 F.3d 241, 250 (2d Cir. 2013). See also Amchem, 521 U.S. at 620.
3
  This Court found that the lead plaintiffUSS's purchases of notes did not satisfy Morrison. See
Petrobras, 150 F. Supp. 3d at 341. This may explain class counsel's poor decision to include
DTC-settled transactions in the plan of allocation. Or perhaps the defendants insisted on that
provision to fend off lawsuits outside this country. In any event, class counsel cannot adequately
represent class members in weeding out non-domestic transactions because class counsel's own
client USS has an interest in including transactions that do not satisfy Morrison.

                                                  4
         Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 8 of 31



evaluate whether the debtholder claim satisfies Morrison. "[A] plaintiff may demonstrate the

domesticity of a particular transaction by producing evidence 'including, but not limited to, facts

concerning the formation of the contracts, the placement or purchase orders, the passing of title,

or the exchange of money.'" Petrobras, 862 F.3d at 272 (quoting Absolute Activist, 677 F.3d at

70). Yet the proof of claim does not request such information even though it is critical. See id

at 271 ("[A] putative class member only has a viable cause of action ifthe specific Petrobras

Securities sued upon were purchased in a qualifying 'domestic transaction."').

       The claims administrator cannot be expected to engage in legal advocacy to ensure that

debtholder claims are thoroughly scrutinized for Morrison domesticity. An independent counsel

could work with the claims administrator to analyze and resolve problematic debtholder claims.

The burden is on the claimant to provide records showing that its purchases took place in the

U.S. Ibid. See also In re Satyam Computer Servs. Ltd. Secs. Litig., 915 F. Supp. 2d 450, 457

(S.D.N.Y. 2013) ("[T]he plaintiff... bears the burden of alleging adequately that each type of

transaction occurred in the United States.") (citing S.E.C. v. Goldman Sachs & Co., 790 F. Supp.

2d 147, 159 (S.D.N.Y. 2011)). For U.S.-based claimants who purchased Petrobras debt

securities using a U.S.-based broker, there should be little difficulty establishing purchases

within the U.S. The Court's various Morrison rulings in this litigation offer considerable

guidance for an independent counsel sifting through problematic debtholder claims. However,

class counsel and the claims administrator may not simply ignore Morrison and include all debt

purchases regardless of their location. See In re Petrobras Sec. Litig., 150 F. Supp. 3d 337, 340

(S.D.N.Y. 2015) ("[T]he Second Circuit has construed the Morrison test narrowly, in line with

its underlying rationale."). To do so would unjustly transfer settlement funds away from class

members with viable claims to debtholders with no viable claim.



                                                  5
         Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 9 of 31



       Without citing Amchem, the Second Circuit nonetheless recognized the lurking intraclass

tension due to Morrison and suggested one possibility: "the district court might certify a subclass

- or a separate class -   of Petro bras ADS holders who purchased their securities on the NYSE,

or of Petrobras Noteholders who acquired their Notes directly through one of the initial

Offerings." Petrobras, 862 F.3d at 274 n.26. The Second Circuit also "emphasize[d] that

district courts are authorized to implement management strategies tailored to the particularities of

each case." Id. at 274. In this case, an independent counsel is the optimal solution because the

interests of those with valid claims (as part of the class) are fully aligned against the interests of

those with invalid non-U.S. claims (who cannot be part of the class).

       The independent counsel's compensation should be tied to the value of claims culled on

Morrison grounds. This would provide "structural assurance" that the members of the class are

adequately represented, which the class counsel failed to do by including DTC-settled debt

purchases as covered transactions in the settlement, plan of allocation and proof of claim.

        Class counsel contends that DTC settlement is irrelevant in the settlement context. (See

Mem. of Law in Supp. of Class Pis.' Mot. for Final Approval of Settlement and Plan of

Allocation ("Class Mem.") at 23-24.) The authorities they cite do not support this contention.

First, class counsel fails to mention that the Second Circuit itself specifically affirmed this

Court's holding that DTC settlement cannot satisfy Morrison. See Petrobras, 862 F.3d at 272

n.24 ("As did the district court, we reject Plaintiffs argument that a securities transaction is

'domestic' under Morrison and Absolute Activist if it settles through the DTC."). The Second

Circuit took pains to apply Morrison in the predominance analysis, yet class counsel now seeks

to ignore its clear instruction as to debtholder claims: "The predominance analysis must account

for such individual questions, particularly when they go to the viability of each class member's



                                                   6
         Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 10 of 31



claims." Id at 274 (emphasis added). The Second Circuit would disapprove of class counsel's

attempt to sidestep "the robust predominance inquiry that Rule 23 demands." Id. at 274-75.

Ignoring the problem doesn't make it go away. Appointing an independent counsel would

address the Morrison problem and provide the structural assurance that Amchem demands.

        Second, class counsel's reliance on Choi v. Tower Research Capital LLC, No. 17-cv-648

(2d Cir. Mar. 29, 2018) is bizarre: "Class Plaintiffs believe that Choi would have served as a

basis for this Court to reconsider its ruling regarding DTC transactions." (Class Mem. at 24.)

But the Choi opinion does not mention DTC at all. Choi merely addresses the plausibility of

domesticity allegations on a motion to dismiss. See slip op. at 17 ("Plaintiffs' allegations make it

plausible that the parties incurred irrevocable liability for their KRX night market trades on CME

Globex in Illinois, which is all that is required at this stage of the litigation.").

        Third, In re American International Group Securities Litigation, 689 F.3d 229 (2d Cir.

2012) is inapposite. There the Second Circuit vacated a class certification ruling and held that a

settlement class ordinarily need not demonstrate that the fraud-on-the-market presumption

applies to its claims in order to satisfy the predominance requirement. Class counsel cites the

following dicta from the opinion: "Defendants in class action suits are entitled to settle claims

pending against them on a class-wide basis even if a court believes that those claims may be

meritless, provided that the class is properly certified under Rules 23(a) and (b) and the

settlement is fair under Rule 23(e)." Id. at 243-44. Under Amchem, a class cannot be properly

certified under Rule 23(a) ifthere exists a structural conflict because Rule 23(a)(4)'s requirement

of adequate representation is not satisfied. See 521 U.S. at 627 ("The settling parties, in sum,

achieved a global compromise with no structural assurance of fair and adequate representation




                                                     7
        Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 11 of 31



for the diverse groups and individuals affected."). Indeed, American International Group

reaffirms the importance of uncovering structural conflicts:

       On remand, the district court should pay particular attention to Amchem's
       guidance that in the settlement context Rule 23 's requirements "designed to
       protect absentees by blocking unwarranted or overbroad class definitions ...
       demand undiluted, even heightened, attention." 521 U.S. at 620 .... Because the
       Gen Re class has not previously been certified, the district court has not yet had
       the opportunity to hear from potential objectors, who might be able to raise these
       or other concerns as appropriate. See Fed.R.Civ.P. 23(c)(2)(B) & (e)(5) (requiring
       that members of a Rule 23(b)(3) class receive notice upon the class's certification
       and permitting any class member to object to a proposed class settlement); see
       also In re Literary Works, 654 F.3d at 249-50 (analyzing objectors' arguments
       that a settlement violated Rule 23(a)(4)'s adequacy ofrepresentation requirement
       because of conflicts of interests between those class members with lucrative
       claims and those with lower-value claims).
689 F.3d at 243 (emphasis added).

       Fourth, class counsel's reliance on the Third Circuit opinion Sullivan v. DB Investments,

Inc., 667 F.3d 273 (3d Cir. 2011) is unavailing. Sullivan is an outlier decision that conflicts with

Amchem. The forceful dissent makes clear why Sullivan was wrongly decided:

       The problem is that some class members who deserve nothing are included in the
       settlement and hence are diluting the recovery of those who are entitled to make
       claims. That harm is real, and the cause of it, the overbreadth of the class, is akin
       to the problem in Amchem.
667 F.3d at 363 n.22 (Jordan, J., joined by Smith, J., dissenting).

       In sum, the proposed settlement cannot be approved under Amchem and Morrison. The

following modifications would rectify the settlement's structural conflict:

        I) The Court should appoint an independent counsel (or special master) to assist the

           claims administrator in culling debtholder claims based on non-U.S. purchases.

        2) Compensation of the independent counsel should be tied to weeding out non-U.S.

           purchases from debtholder claims, and fees for the independent counsel should be

           paid out of any fees awarded to class counsel (who created the problem, after all).



                                                  8
         Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 12 of 31



        3) Debtholder claimants should be advised that any purchase made outside of the U.S.

            does not qualify for recovery from the settlement fund; and they should be required to

           provide sufficient documentation to establish the location of their purchase(s).

        4) The Court should strike part (ii) from the definition of Covered Transactions in the

           proof of claim. (See Proof of Claim at 3 ('"Covered Transaction' means ... (ii) any

           transaction in a Petrobras Security that cleared or settled through the Depository Trust

           Company's book-entry system")

       For the reasons above, the Court should reject the impermissible settlement structure that

counsel created and appoint an independent advocate to weed out Morrison-barred claims.

II.    Tlie Class Notice Fails to Disclose Materially Relevant Information.

       First, the class notice fails to disclose what percentage of the settlement fund is

apportioned to the ADS versus the various debt securities. A simple pie chart would have

sufficed. Without this information, it is impossible to assess whether the settlement is lopsidedly

allocated to debtholders (including those with no domestic transactions) at the expense of ADS

purchasers. The settlement agreement indicates that this materially relevant information is

available, and it should be disclosed. See Stipulation of Settlement and Release at 11   ~   CC

("Petro bras, as the issuer of the American Depositary Receipts(' AD Rs'), will pay that portion of

the Settlement Amount that is based on the alleged damages caused to purchasers of ADRs as a

result of the conduct alleged in the Action, and PGF, as the issuer of the debt securities alleged in

the Action will pay that portion of the Settlement Amount that is based on alleged damages

caused to purchasers of the debt securities as a result of the conduct alleged in the Action.").

       Second, there is no explanation of why a release is given to the underwriter defendants

without any contribution. The Section 11 claims against the underwriters are brought only on



                                                  9
         Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 13 of 31



behalf of debtholders and they are given preferential treatment in the plan of allocation. 4

Assuming arguendo that Section 11 claims are more easily proved at trial than Section I O(b)

claims, why did class counsel grant a release to the underwriter defendants without any

contribution? The debtholders' share of the settlement fund comes at the expense of the ADS

purchasers (see Part I supra regarding the Amchem conflict) and therefore an explanation for

granting a release to the underwriters without any consideration should be disclosed.

       Third, the notice fails to disclose how much the claims administrator will be paid. The

Shareholders respectfully suggest that class counsel should have sought competitive bids if the

cost of administration is anticipated to exceed I% of the settlement fund.

       Accordingly, the Court should order supplemental notice posted on the website for this

litigation: http://www.petrobrassecuritieslitigation.com/ (to save on postage).

III.   The Request for Attorneys' Fees is Clearly Excessive and Unreasonable.

       Class counsel seeks a Powerball-sized $285 million in attorneys' fees, more than a

quarter billion dollars, even though Brazilian prosecutors and police did all the heavy lifting,

exposing the crimes and securing guilty pleas and disgorgement from corporate executives.

Insofar as class counsel touts its achievement, the Court should keep in mind the true heroes who

uncovered the Petrobras skulduggery and prosecuted high-level corporate executives:

       The case exploded onto the national scene under the direction of nine little-known
       prosecutors who are taking on some of the most powerful forces in the country.
       Many studied abroad, and they are using strategies relatively novel in Brazil, such
       as the plea bargain. Local media call them the Nine Horsemen of the Apocalypse.

4
  See Class Notice at 15 ("In the view of Class Representatives and Class Counsel, liability under
Section 11 would have been more easily proved at trial than liability under Section 1O(b).
Therefore, the Recognized Loss on a USD Note purchased/acquired in the Class Period, having
Claims under both Section 11 and Section 1O(b ), will be the maximum of either the loss on
transactions in this USD Note under Section 11 or the loss on transactions in this USD Note
under Section lO(b), plus an increment of25% of that maximum amount (i.e., the Recognized
Loss will be that maximum amount multiplied by 1.25).") (emphasis added).

                                                 10
         Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 14 of 31



        "Fear of the law was something that did not exist in Brazil for white-collar
        criminals and politicians," said Paulo Roberto Galvao de Carvalho, one of the
        nine prosecutors. "This needs to change, and is changing."

        "They're trying to bring some stuff from the U.S. legal system into the Brazilian
        legal system," said Jose Vicente Mendonc;a, a state attorney in Rio de Janeiro and
        former Harvard classmate of [lead prosecutor] Mr. Dallagnol. "It's part of a
        general changing of the mind-set in Brazil. This is a turning point in the Brazilian
        legal system."

Will Connors and Luciana Magalhaes, How Brazil's 'Nine Horsemen ' Cracked a Bribery
Scandal, Wall St. J. (April 6, 2015).

       A.      No Lodestar Multiplier is Warranted for Piggybacking on the Prosecutors in
               a Case Where the Risk of Non-Recovery Was Practically Nonexistent.

       Riding the coattails of the "Nine Horsemen of the Apocalypse," class counsel was able to

leverage the guilty pleas and the stock collapse into a settlement fund in this country. That

service merits a fee without a risk multiplier. In Goldberger v. Integrated Resources, Inc., 209

F.3d 43, 54, 56 (2d Cir. 2000), the Second Circuit upheld a lodestar fee with no multiplier where

the attorneys had been "helped enormously" by the "spadework" performed by prosecutors in

actions against the same defendants and because the legal issues presented were not novel.

       Goldberger was a securities case in which class counsel sought an award amounting to

25% of a $54 million settlement. The District Court, however, awarded class counsel only its

lodestar of $2.1 million, with no multiplier. The Second Circuit upheld that decision. Although

class counsel argued for a multiplier, assertedly on the basis of the risk it undertook in bringing

the case, the Second Circuit believed that the case never had any real risk of not settling, and thus

"fell in the low range of the risk continuum." Id. at 54. The Court also expressed its "nagging

suspicion that attorneys in these cases are routinely overcompensated for such things as

contingency risk," and expressed a "preference for moderation" in awarding fees. Id. at 57. See

also In re IndyMac Mortgage Backed Sec. Litig., 94 F. Supp. 3d 517, 525-26 (S.D.N.Y. 2015)



                                                  11
         Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 15 of 31



("First, securities cases like this practically always settle, meaning that the risk of total non-

recovery was almost nonexistent. Second, plaintiffs in this case had the benefit of pre-existing

investigations by government authorities, a fact that rendered the case less risky than it otherwise

might have been.") (citations omitted).

        The legal issues in this litigation are not groundbreaking. As in any securities case,

defendants here have a variety of defenses-scienter, damages, loss causation, statutes of

limitation and repose, etc. However, that alone does not justify a risk multiplier. Counsel cannot

simply "point to ... general hurdles - such as the defenses available to defendants -" and "argue

that because their fee was entirely contingent on their ability to overcome such hurdles, they

must, as a matter of law, be compensated by a fee enhancement." Goldberger, 209 F.3d at 54.

       The fee award in In re Visa Check!Mastermoney Antitrust Litigation, 297 F. Supp. 2d 503

(E.D.N.Y. 2003) is also instructive. Unlike class counsel in this case, "Lead Counsel did not

benefit from any previous or simultaneous government litigation, see, e.g., In re Gulf Oil/Cities

Serv. Tender Offer Litig., 142 F.R.D. 588, 597 (S.D.N.Y. 1992) ('[T]his is not a case where

plaintiffs' counsel can be cast as jackals to the government's lion, arriving on the scene after

some enforcement or administrative agency has made the kill. They did all the work on their

own.')." Id. at 523-24. See also id. at 524 n.31 ("Indeed, the government piggybacked on Class

Counsel's efforts."). If class counsel had ferreted out the Petrobras kickbacks before the

Brazilian prosecutors, a 9 .5% fee would indeed have been deserved. But here the class counsel

merely administrated the usual follow-on civil case in the wake of the investigations and

prosecutions by Brazilian prosecutors and police. 5 Like the sweepers who follow an elephant in

a parade, the work done by class counsel was necessary but hardly beyond the eall of duty.


5
 Paragraphs 151-52 of the Lieberman Declaration reveal that the key evidence-gathering effort
by class counsel was little more than downloading publicly-available transcripts and documents

                                                  12
         Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 16 of 31



        The Brazilian prosecutors and police who exposed the Petrobras scandal and prosecuted

the culpable executives should be saluted. Class counsel piggybacked afterward but risked little.

Accordingly, no risk multiplier should be granted above class counsel's lodestar.

        B.     A Fee Award of 2% ($60 million) is Amply Supported by Precedent.

        For its work, class counsel should receive 2% of the fund, amounting to $60 million, an

enormous and generous fee by any measure. This is consistent with the 3% fee award in In re

Nortel Networks Corp. Securities Litigation, No. 01-cv-1855 (S.D.N.Y. Jan. 29, 2007) (attached

as Exhibit A), aff'd 539 F.3d 129 (2d Cir. 2008) (upholding fee award over objections by class

counsel). The Second Circuit confirmed the district court's discretion to award a non-exorbitant

3% fee even though the lead counsel sought 8.5% based on a negotiated fee with the lead

plaintiff:

        [W]e have found nothing indicating a congressional intent for courts to consider
        the fees agreed upon by PSLRA lead plaintiffs as presumptively reasonable.
        Indeed, the only PSLRA provision related to attorneys' fees places an obligation
        on district courts to ensure independently that fees are reasonable: "Total
        attorneys' fees and expenses awarded by the court to counsel for the plaintiff class
        shall not exceed a reasonable percentage of the amount of any damages and
        prejudgment interest actually paid to the class." 15 U.S.C. § 78u-4(a)(6).

539 F.3d at 133.

        Also supporting a non-exorbitant fee award is the 4% fee award granted in connection

with the $300 million securities class action settlement in In re Bristol-Myers Squibb Securities

Litigation, 361 F. Supp. 2d 229 (S.D.N.Y. 2005). There, "Lead Counsel merely drafted

complaints setting out roughly chronologically the material in the public record and alleging



from the Brazilian investigation: "A significant portion of the evidence Class Counsel gleaned
from Brazil formed the core of Plaintiffs' pre-trial exhibit list and oppositions to Defendants'
separate motions for summary judgment. ... Attorneys employed by Class Counsel and fluent in
Portuguese searched through different agencies' websites and court dockets to download and/or
review files or documents relevant to the litigation."

                                                 13
         Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 17 of 31



Defendants' knowledge and scienter." Id. at 234. The 4% fee award in Bristol-Myers amounted

to nearly $12 million. Here a 2% award would yield five times that, or $60 million. 6

        In all the cases cited above (Goldberger, Nortel, Bristol-Meyers, Visa Check and

IndyMac), the courts rejected the requested fee as excessive. The Second Circuit will not disturb

a finding that no risk multiplier is warranted, so this Court's discretion is secure. See McDaniel

v. County ofSchenectady, 595 F.3d 411, 425 (2d Cir. 2010) ("Our case law makes clear ... that an

award of no lodestar multiplier at all is within the district court's discretion."). See also

Goldberger, 209 F.3d at 53 ("[T]his Court has never found that a district court abused its

discretion by awarding in a common fund case a fee that counsel assailed as too stingy.");

Nortel, 539 F.3d at 134 (observing that class counsel "points to no case where we have held that

a district court abused its discretion in awarding a fee that is too low.").

       C.      The Unexceptional Quality of Representation Does Not Merit a Multiplier.

       What distinguishes an extraordinary settlement is (1) securing personal contributions

from individual defendants and (2) recovering from alternative deep pockets (usually Wall

Street) when the corporate defendant declares bankruptcy. After any gigantic corporate scandal,

numerous lawyers swarm and there are several firms that have obtained a billion-dollar recovery

so long as the corporation is not bankrupt. Here, the end result of class counsel's representation
6
  In the Cendant fee saga, the district court ultimately awarded 1. 7% of the $3 .2 billion
settlement fund on remand. See In re Cendant Corp. Litig., 243 F. Supp. 2d 166, 172 (D.N.J.
2003). The Cendant precedent, while correctly reflecting a reasonable low-single-digit
percentage in a mega-fund settlement, is inapposite because there the lead plaintiff litigated
tenaciously against the lead counsel for a lower fee after the district court awarded a much higher
fee. The Second Circuit has declined to adopt the Third Circuit's ratio decidendi in the Cendant
decision. See Nortel, 539 F.3d at 133. Indeed, the Third Circuit has since attenuated its own
Cendant holding. See Jn re AT&T Corp., 455 F.3d 160, 168-69 (3d Cir. 2006) ("We now
emphasize that the presumption of reasonableness set forth in Cendant does not diminish a
court's responsibility to closely scrutinize all fee arrangements to ensure fees do not exceed a
reasonable amount. We caution against affording the presumption too much weight at the
expense of the court's duty to act as 'a fiduciary guarding the rights of absent class members."')
(citation omitted).

                                                   14
         Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 18 of 31



is not a game-changer like the settlements in Enron and WorldCom, where individual defendants

personally contributed millions of dollars and the corporate defendants were bankrupt. See In re

Enron Corp., 586 F. Supp. 2d 732, 740 n.2 & 789 (S.D. Tex. 2008) (noting bankruptcy hurdle

and settlements with directors); In re WorldCom, Inc. Sec. Litig., 388 F. Supp. 2d 319, 339

(S.D.N.Y. 2005) ("[T]he Director Defendants ... have collectively given up twenty percent of

certain personal assets and ... [o ]f the Officer Defendants, Ebbers and Sullivan have contributed

substantially all of their personal assets to this and other settlements[.]").

       In the Petrobras case, the settlement is not extraordinary because class counsel obtained

zero personal liability and the corporation is not bankrupt. Class counsel did not track down

hidden Swiss bank accounts or hold any individuals accountable. They did not go beyond what

the Brazilian prosecutors and police investigated and prosecuted. Like an accountant diligently

preparing a tax return, class counsel prepared and filed the proper paperwork to connect the

guilty pleas and corporate admissions to liability under U.S. securities laws. As any competent

lawyer preparing for trial must do, they propounded discovery and hired experts. At the end of

the day, class counsel failed to extract anything from the underwriter defendants, nor from any

Petrobras executive. The case against Petro bras itself was a layup after so many guilty pleas.

        The $3 billion recovery is meager when seen against Petrobras investor losses exceeding

$100 billion. 7 Morgan Stanley expected a $10 billion recovery, which would have justified a

Powerball fee. 8 "JPMorgan ... had expected a settlement of over US$5 billion[ ... ]. The market

had anticipated a settlement of between US$5 billion and US$10 billion, according to analysts at


7
  See Consolidated Fourth Amended Complaint, D.I. 342 ~ 2 ("At its height in 2009, Petrobras
was the world's fifth-largest company, with a market capitalization of $310 billion. Now, amid a
rampant money-laundering and kickback scheme, Petrobras is worth just $39 billion.").

8
 See https://www.bloomberg.com/news/articles/2018-01-03/petrobras-to-pay-3-billion-to-end-u-
s-class-action-over-graft (visited May 1, 2018).

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         Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 19 of 31



Brazilian bank BTG Pactual."9 While admittedly speculative, it is certainly plausible that a more

tenacious law firm could have secured a higher recovery closer to market expectations.

       The Amchem structural conflict created by class counsel also militates against a

Powerball-sized fee. Class counsel fumbled the football just before entering the end zone and

failed the class by attempting to include DTC-settled transactions in the plan of allocation.

While class counsel deserves a reasonable fee, their performance at the finish line was imperfect,

and their fee ought to reflect that blemish.

       Any plaintiffs firm will tout its achievements as historic and extraordinary, but

ultimately the Court undertakes much of the critical work in terms of mapping out the boundaries

in complex litigation. As this Court has expressed, the efforts of the lawyers only go so far

because the facts and the law largely determine the outcome in a given case:

    Jed Rakoff: In a close case, the skill of the lawyer can make the difference, but most
    cases are not that close. [ ... ] As far as the court is concerned, most cases chiefly involve
    motion practice, where the judge will be doing his own legal research and analysis that
    may go well beyond what the lawyers present and will, in any case, not be much
    affected by who is the better lawyer. r... J

    Rakoff: I know it is very hard for such a talented (and high-priced) lawyer ... to
    contemplate that the facts and the law might carry the day regardless of the lawyering,
    but that has been my experience, and I find it reassuring. It evidences that, in most
    cases, we are a country governed not by lawyers but by laws. 10

       Here, the primary determinant driving the settlement size was the massive market

capitalization erased by the Petrobras scandal, but class counsel had nothing to do with that.

Accordingly, the unexceptional quality of the representation weighs against a multiplier.


9
  See https://oilprice.com/Latest-Energy-News/World-News/US-Court-Gives-Preliminary-Nod-
To-3B-Petrobras-Class-Action-Settlement.html (visited May 1, 2018).
10
   Joel Cohen, Richard A. Posner, and Jed S. Rakoff, Do Courtroom Lawyers Make a
Difference?, SLATE (July 31, 2017), http://www.slate.com/articles/news_and_politics/
jurisprudence/ 2017/07 /posner_and_rakoff_debate_ whether_ courtroom_
lawyers_ever_make_a_difference.html (last visited May 1, 2018).

                                                  16
         Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 20 of 31



       D.      Public Policy Disfavors a $284,500,000 Attorneys' Fee.

       This Court should refuse to rubber stamp a quarter-billion dollar fee because public

policy disfavors overcompensation of class action attorneys. When attorneys ask for the moon,

the Court should bring them back to earth. Judge Gleeson offered this retort while slashing a fee

request by two-thirds: "Only in comparison to the amount sought can it be considered anything

but generous. If it amounts to punishment, I am confident there will be many attempts to self-

inflict similar punishment in future cases." Visa Check, 297 F. Supp. 2d at 525.

       Awarding a $60 million fee would deliver $225 million more of the settlement fund to

the class, including elderly retirees like the Shareholders, who lost more than $10,000 on their

Petrobras investment. See Wal-Mart Stores, Inc. v. Visa USA, Inc., 396 F.3d 96, 123 (2d Cir.

2005) ("[T]he district court's decision in favor of protecting the instant class from an excessive

fee award militates against awarding attorneys' fees based purely on economic incentives.").

       A Powerball-sized fee sends a powerful signal to the rest of society as to the type of

endeavor that our justice system rewards. Granting the fee and expense request for roughly

$300,000,000 would overcompensate class counsel and encourage even more securities

litigation, drawing talent and resources away from endeavors benefitting society like the

Innocence Project, scientific discovery or medical research. As the late Justice Scalia lamented:

       I mean lawyers, after all, don't produce anything. They enable other people to
       produce and to go on with their lives efficiently and in an atmosphere of freedom.
       That's important, but it doesn't put food on the table and there have to be other
       people who are doing that. And I worry that we are devoting too many of our very
       best minds to this enterprise.

Ashby Jones, Scalia: 'We Are Devoting Too Many of Our Best Minds to Lawyering',
Wall St. J. L. Blog (Oct. 1, 2009), https://blogs.wsj.com/law/2009/10/01/scalia-we-are-
devoting-too-many-of-our-best-minds-to-lawyering/ (last visited May 1, 2018).

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         Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 21 of 31



       Considering the interests of absent class members, the unexceptional quality of

representation, the absence of groundbreaking issues, public policy and the exorbitance of the fee

request, $60 million is reasonable and more than fair to compensate class counsel for its work.

       E.      Class Counsel's Lodestar is Vastly Inflated.

       For purposes of the lodestar cross-check, class counsel claims a lodestar of nearly $160

million. However, the partners, of counsel and associates of the triumvirate of law firms

represent only 17% of this lodestar, or $27.5 million. (Ex. 21 to Lieberman Deel.) The

remainder of the claimed lodestar is attributable to contract attorneys primarily engaged in the

drudgery of reviewing millions of mostly irrelevant documents (obviously, the most highly

relevant evidence consists of the transcripts and plea agreements from the Brazilian prosecutors).

After making appropriate adjustments described below, the normalized lodestar for this case is

$60 million, which is consistent with a 2% fee award.

       First, a "sophisticated client could have negotiated a total of, say, half...or less" of

contract attorney billing rates, "knowing these contract attorneys cost plaintiffs counsel

considerably less than what the firm's associate attorneys cost[.]" City ofPontiac Gen. Empls.

Ret. Sys. v. Lockheed Martin Corp., 954 F. Supp. 2d 276, 280 (S.D.N.Y. 2013) (Rakoff, J.). See

also Jn re Beacon Assocs. Litig., No. 09 Civ. 777(CM), 2013 WL 2450960, at *18 (S.D.N.Y.

May 9, 2013) ("[T]here is absolutely no excuse for paying those temporary, low-overhead

employees $40 or $50 an hour and then marking up their pay ten times for billing purposes.").

       In Jn re Citigroup Inc. Securities Litigation, 965 F. Supp. 2d 369 (S.D.N.Y. 2013), the

district court thoroughly examined the issue of billing contract attorneys at inflated rates for

lodestar calculation in a class action. There, the Court concluded that $200 was the appropriate

blended rate for contract attorneys. Id. at 398-99 ("The Court finds that the hypothetical paying



                                                  18
         Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 22 of 31



client here is one with significant negotiating leverage, as evidenced by the hard-fought battle for

appointment."). This Court should follow that precedent, which would result in an adjusted

lodestar of slightly less than $75 million. I I

        Second, the number of hours is unreasonable. Class counsel failed to indicate the

percentage of hours devoted to document review versus substantive litigation (pleadings, court

appearances, depositions, etc.). Given that 83% of the total lodestar is attributable to contract

attorneys, it is fair to estimate that perhaps 90% of the lodestar is attributable to discovery. In

IndyMac, the court found that the lodestar was excessive where nearly 60% of all hours spent on

the case were attributable to discovery. See 94 F. Supp. 3d at 527. The court "exercise[d] its

discretion to cut 'surplusage' on a percentage basis by reducing the portion of each firm's

lodestar attributable to discovery by 25 percent." Ibid Here, class counsel failed to show how

much of the lodestar is attributable to discovery, but it appears that the vast majority of the

lodestar, perhaps 90%, is attributable to discovery. The Shareholders respectfully suggest that

the adjusted lodestar of $75 million be reduced by 20%, yielding a lodestar of $60 million. I 2

        Third, the billing rates for class counsel are ludicrously high and fail to reflect the

discounts that sophisticated clients normally insist upon. Nominal billing rates are not the same

as collected bills. While a preeminent litigator (say, David Boies) can legitimately bill $1,000+

per hour, it is doubtful that a litigator with apparently zero trial experience, who graduated from

law school in 2002, could actually command $925 per hour from a paying client. (See Ex. 23,

listing $925 hourly rate for Jeremy Lieberman.) As noted above, the billing rates for the contract

attorneys are excessive. Even the $305 rate for paralegals (Ex. 16 at 6) is more than double the
11
   $200 multiplied by 236,547.63 "project attorney" hours (Lieberman Deel. Ex. 22) equals
$47,309,526. Adding this to the $27,545,586.35 lodestar from partners, of counsel and
associates (see id Ex. 21) yields a total lodestar of $74,855,112.35.
 2
I A 20% across-the-board reduction is mathematically equivalent to the 25% reduction in
IndyMac with the cautious assumption that 80% of the lodestar here is attributable to discovery.

                                                   19
         Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 23 of 31



average billing rate for paralegals by any measure (region, firm size, or years of experience). 13 It

is clear that the billing rates claimed by class counsel are inflated across the board.

       Moreover, insofar as class counsel relies upon rates by other law firms, the Court should

compare class counsel's requested compensation against the $1.66 million average profits-per-

partner for the Am Law 100. 14 By contrast, the requested fee here amounts to more than $35

million for each of the eight partners listed on the core team. (Ex. 21 to Lieberman Deel.) Even

generously assuming out-of-pocket expenses of $50 million (for associate salaries, contract

attorney payments and other costs), the fee per partner would be nearly $30 million,

approximately 18 times the average profits-per-partner at Am Law 100 firms. The billing rates

for class counsel are unreasonably high, and the implied profits-per-partner are wildly out of

sync with the average profits-per-partner for large law firms. These considerations should

further inform and justify downward adjustments to the total lodestar.

       For the reasons above, the Court should adjust the total claimed lodestar to $60 million.

                                          CONCLUSION

       For the foregoing reasons, the Court should appoint an independent counsel for the class

and order supplemental notice to the class. If the settlement is approved, the Shareholders

respectfully suggest an award of attorneys' fees of2% of the settlement fund.

               May    Cf, 2018                         Respectfully submitted,


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Disclosure: This brief was prepared by the Shareholders' son, Joseph Gielata, a retired lawyer.
13
   See National Association of Legal Assistants 2016 National Utilization & Compensation
Survey Report, at 21-22, available at https://www.nala.org/sites/default/files/files/banner/2016%
20NALA%20Utilization%20Compensation%20Survey%20Report.pdf
14
   See https://abovethelaw.com/2017/04/the-2017-am-law-100-a-turning-point-for-biglaw/

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                            Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 24 of 31


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Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 25 of 31
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                    Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 26 of 31
                    Case 1:01-cv-01855-RMB-MHD Document 194 Filed 01/29/07 Page 15 of 19



      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
      -----------------------------------------------------------------------)(
      In re NORTEL NETWORKS CORP. SECURITIES
      LITIGATION                                                                   EXHIBIT A
                                                                                   ATTORNEYS' FEES

      ------------------------------------------------------------------------)(

      I.            Introduction

                    Lead Plaintiffs Counsel seeks attorneys' fees in the amount of8.5% of the $438,667,428 Gross

      Cash Settlement Fund, 8.5% of the 314,333,875 Gross Settlement Shares, plus $3,750,041.27 in

      expenses, which would total approximately $101 m11lion in fees and expenses and which is proposed

      to be shared among nine law firms ("Fee Application"). 1 (See Memorandum of Law in Support of

      Plaintiffs' Counsel's Application For an Award of Attorneys' Fees and Reimbursement of Expenses

      ("Pl. Mem."), dated September 5, 2006, at 1-2.) Lead Plaintiffs Counsel also claims a lodestar of

      $16,655,970.60 based upon 47,846.07 hours worked (including lawyers and paralegals) (see

      Compendium of Affidavits, dated September 5, 2006); and seeks a lodestar "multiplier" of 5.8 (Pl.

      Mem. at 15) which is to say fees totaling 5.8 times the number of hours actually worked. Lead

      Plaintiff argues that the Fee Application should be granted because, among other reasons: (I) the "fee

      requested in this case, 8.5% of the proposed Settlement, is at the lower end of, or below, the range of

      fees awarded by courts under the percentage method in cases involvmg very large recoveries" (Pl.

      Mem. at 3); (2) "[s]ignificantly higher percentage fees have been awarded in numerous cases that were

      far less risky, were not as intensely litigated and did not get past the class certification stage" (Pl.

      Mem. at 3); and (3) "OPTrust ... the fiduciary representative of the Nortel I Class, has stated its belief

      that such fee is fair and reasonable to the N01tel I Class and Plamtiff Counsel and should be approved

      by the Court." (Pl. Mem. at 4.)

                    Ten objections were filed in opposition to Lead Plaintiffs Counsel's Fee Application, one of

              See Order Approvmg Lead Counsel, dated February 4, 2002, at I ("LT]he Court hereby ...
      affirms its choice of (lead) counsel, Milberg Weiss, as sole lead Plaintiffs counsel. ... ").
       - ---
         Case    - - - - - - - - Document 813 Filed 05/18/18 Page 27 of 31
             - - 1:14-cv-09662-JSR
       Case 1:01-cv-01855-RMB-MHD Document 194 Filed 01/29/07 Page 16 of 19



which, Rinis Travel Service, offers detailed and substantive grounds for its opposition. Rinis argues

that "[t ]he overall size ·of the fee is grossly excessive ... and ... is much more than should be Justified

in this settlement." (See Object10ns and Notice oflntent to Appear at the Fairness Hearing, dated

September 19, 2006, at 2.) The Court, for the reasons set forth below, finds that an award of $101

million in legal fees and expenses is excessive.

II.    Legal Standard

       A party seeking attorneys' fees bears the "burden of 'establishing entitlement to an

award .... '" Savoie v. Merchants Bank, 166 F.3d 456, 463 (2d Cir. 1999) (citation omitted).

       Attorneys who create a "common fund" are entitled to "a reasonable fee--set by the court--to be

taken from the fund." Goldberger v. Integrated Resources, Inc., 209 F.3d 43, 47 (2d Cir. 2000). Under

the lodestar method, "the district court scrutinizes the fee petition to ascertain the number of hours

reasonably billed to the class and then multiplies that figure by an appropriate hourly rate." Id. The

lodestar may be mcreased "by applymg a multiplier based on 'other less objective factors,' such as the

risk of the litigation and the performance of the attorneys." Id. (c1tat10ns omitted). Under the

percentage method of awarding legal fees, the "court sets some percentage of the recovery as a fee,"

but "look[s] to the same 'less objective' factors that are used to determine the multiplier for the

lodestar." Id.; Wal-Mart Stores, Inc. v. Visa U.S.A,. Inc., 396 F.3d 96, 123 (2d Cir. 2005).

       "[N]o matter which method is chosen, distnct courts should continue to be guided by the

trad1t1onal criteria in determining a reasonable common fund fee, including: '(1) the time and labor

expended by counsel; (2) the magnitude and complexities of the litigation; (3) the risk of the litigation

... ; (4) the quality of representation; (5) the requested fee in relation to the settlement; and (6) public

policy considerations.'" Goldberger, 209 F.3d at 50 (citation omitted).

HI.    Analysis

        Employing the percentage method of fixmg Plamtiffs attorney compensation (while relying


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         Case -  - - ----- - Document 813 Filed 05/18/18 Page 28 of 31
               1:14-cv-09662-JSR
       Case 1:01-cv-01855-RMB-MHD Document 194 Filed 01/29/07 Page 17 of 19


upon the lodestar method as a "cross-check"), the Court finds, for the reasons that follow, that 3% of

the Gross Cash Settlement Fund and 3% of the Gross Settlement Shares is fair and reasonable fee

under Goldberger and related cases. This would result in legal fees of approximately $34 million

(using a 2.05 multiplier of the lodestar). This result serves the dual purposes of encouraging counsel to

bring appropriate cases and not granting fee awards that are excessive. See Goldberger, 209 F.3d at

53.

       The first Goldberger factor relates to "the time and labor expended by counsel." Because the

Court is awarding fees on a percentage basis, the Court need not "exhaustively scrutinize" counsel's

hourly submissions. Goldberger, 209 F.3d at 49-50. But, in fact, the Court has reviewed counsel's

hourly submissions and concluded that they appear accurate.

       As to the second and third Goldberger factors -- i.e., "the magnitude and complexities of the

litigation" and the nsk of pursuing the case on a contingency basis -- the Court finds that the

complexity and risks faced by Plaintiffs in this case are not significantly different or greater than those

faced by plaintiffs in other large securities litigations and are certainly fairly compensated at 2.04 times

the hours actually expended.   Se~,      In re Bnstol-Myers Squibb Secs. Litig .. 361 F.Supp.2d 229,

234 (S.D.N.Y. 2005). Plaintiffs identified the following (not altogether atypical) complexities, among

others: (i) Plaintiffs would have to prove that Nortel's forward guidance and accountmg were

materially false and misleading; (ii) "the difficulties and complexities of issues relating to proof of loss

causation and damages were very real"; and (iii) Nortel might not be able financially to survive two

liability and damage judgments resulting from Nortel I and Nortel II. (See Plaintiffs Memorandum of

Law In Support of Final Approval, dated September 5, 2006, at 9, 15.)

       As to the fourth Goldberger factor - i.e. "quality of the representation" - the Court notes that

Plaintiffs counsel Milberg, Weiss, Bershad, & Schulman ("M1lberg Weiss") is qualified and




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               1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 29 of 31
       Case l:Ol-cv-01855-RMB-MHD Document 194 Filed 01/29/07 Page 18 of 19


experienced in these matters. 2 Counsel's primary work in this matter, apart from discovery, was

successfully defending against a defense motion to dismiss, filed in or about April 2002, (see Decision

and Order, dated January 6, 2003 ), and obtaining class certification in September 2003. (See Decision

and Order, dated September 8, 2003.)

       With respect to the fifth Goldberger factor - i.e., "the requested fee in relation to the settlement"

- the Court finds that a 3% fee is reasonable under the circumstances of this case and is consistent with

fees granted m other securities cases. Se_e&R:_, In re Bnstol-Myers Squibb Securities Litigation, 361

F.Supp.2d 229, 237 (S.D.N.Y. 2005) (approving a lodestar multiplier of 2.29); In re WorldCom, Inc.

Securities Litigation, No. 02 C1v. 3288, 2004 WL 2591402 (S.D.N.Y. Nov. 12, 2004) (approving

lodestar multiplier of2.46); Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 123 (2d Cir. 2005)

(approving lodestar multiplier of 3.5)

       As to the sixth Goldberger factor - "pubhc policy considerations" - a fee award of 3% or two

times the value of hours actually worked (by nine law firms) both encourages lead plaintiffs counsel

to pursue secunties litigations and helps ensure against the specter of excessive fees of individual firms

or multiple firms in the aggregate. See Klein v. Salvi, 02 Civ.1862, 2004 WL 596109, at *10-11

(S.D.N.Y. March 30, 2004); see also In re Dreyfus Aggressive Growth Mut. Fund Litigation, 98 CV

4318, 2001 WL 709262, at *7 (S.D.N.Y. June 22, 2001). This result balances the "overarching

concern for moderat10n" (with respect to attorneys' fees) with the public policy encouraging the

enforcement of the securities laws. See Goldberger, 209 F.3d at 53.

       The reasonableness of the award proposed by the Court is confirmed by a lodestar analysis

"cross-check." Goldberger, 209 F.3d at 50. Based upon a lodestar of $16,655,970.60, a 3% fee award


        It should also be noted that on or about May 18, 2006, an Indictment was filed in the United
States District Court for the Central District of California against Milberg Weiss and two of its
partners, David Bershad and Steven Schulman. Following a hearing held by this Court on June 15,
2006, Milberg Weiss (voluntarily) substituted Sanford P. Dumain, a partner in the firm, for Mr.
Bershad, who had been principal counsel m this action. (See Transcript, dated June 15, 2006, at 21.)

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         Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 30 of 31
      Case 1:01-cv-01855-RMB-MHD Document 194 Filed 01/29/07 Page 19 of 19



reflects a multiplier of approximately 2.05 . .S~~ In re Bristol-Myers Squibb Securities Litigation,

361 F.Supp.2d 229, 230, 237 (S.D.N.Y. 2005) (approvmg a lodestar multiplier of 2.29, resulting in an

award of 4% of a $300 million settlement fund); In re WorldCom, lnc. Securities Litigation, No. 02

Civ. 3288, 2004 WL 2591402 (S.D.N.Y. Nov. 12, 2004) (approving lodestar multiplier of2.46,

resulting in a 5.5% award of a $2.6 billion settlement fund); Wal-Mart Stores, Inc. v. Visa U.S.A., Inc.,

396 F.3d 96, 106, 123 (2d Cir. 2005) (approving lodestar multiplier of 3.5, resulting in an award of

6.5% of $3 billion settlement fund).

       The Court also finds that Lead Plaintiffs Counsel's request for the reimbursement of expenses

in the amount of $3,750,041.27 is reasonable. See In re Ashanti Goldfields, No. 00 C1v. 717, 2005 WL

3050284, at *5 (E.D.N.Y. Nov. 15, 2005) ("Counsel is entitled to reimbursement from the common

fund for reasonable litigation expenses."). The requested fees consist of, among other things, payment

of experts and consultants ($2,616,636.61 ), photocopying and reproduction ($537,961.01 ), legal

research ($49,810.10), and transportation and lodging ($311,476.43). (See Compendium of Affidavits,

dated September 5, 2006, at Ex. A.)



                                            *       *      *




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       Case 1:14-cv-09662-JSR Document 813 Filed 05/18/18 Page 31 of 31



                               Certificate of Service

      I, Richard Gielata, certify that I sent copies of the foregoing document to the
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